

Matter of Flatow (2023 NY Slip Op 01572)





Matter of Flatow


2023 NY Slip Op 01572


Decided on March 23, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 23, 2023

PM-63-23
[*1]In the Matter of Rebecca Bernice Flatow, a Suspended Attorney. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Rebecca Bernice Flatow, Also Known as Rebecca B. Zornick, Respondent. (Attorney Registration No. 4997367.)

Calendar Date:December 12, 2022

Before:

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Rebecca B. Zornick, Washington, DC, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 208 AD3d 1421, 1429 [3d Dept 2022]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to October 6, 2022, her supplemental filing sworn to December 9, 2022 and the December 2, 2022 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Nayak, 210 AD3d 1185, 1186-1187 [3d Dept 2022]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Egan Jr., J.P., Lynch, Aarons, Ceresia and McShan, JJ., concur.








